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EXHIBIT 2

 
Quick Facts !*

— Sexual Abuse Offenders —

 

Fiscal Year 2020 Offender and Offense Characteristics?

© 92.3% of sexual abuse offenders were men.
P IN FY 2020, 64,565 CASES WERE REPORTED TO

THE U.S. SENTENCING COMMISSION. ¢ 57.4% were White, 14.2% were Black, 14.1% were Hispanic, 12.5%
were Native American, and 1.8% were Other races.
P 88] INVOLVED SEXUAL ABUSE OFFENSES. ! ¢ 74.5% of offenders in cases involving production of child
pornography were White.
DB SEXUAL ABUSE OFFENSES HAVE DECREASED BY ¢ 57.0% of offenders in cases involving travel for prohibited
19.2% SINCE 2016. sexual contact were White and 21.3% were Black.

¢ 60.9% of offenders in cases involving criminal sexual abuse
(rape) were Native American.

Number of Sexual Abuse Offenders ¢ 76.0% of offenders in cases involving abusive sexual contact
1,500 were Native American.
¢ 88.9% of offenders in cases involving statutory rape were
1,165 Native American.
1,090 1,097 1,067
1,000 881 e Their average age was 38 years.
e 95.4% were United States citizens.
500 ¢ = 65.8% had little or no prior criminal history (Criminal History
Category |):
¢ 9.4% were CHC Il;
¢ 10.4% were CHC ill:
0 @ 4.3% were CHC IV;
@ 7.1% were CHC V:
FY FY FY FY FY 8
@ 3.0% were CHC VI.

2016 2017 2018 2019 2020

© 10.1% of sexual abuse offenders were convicted at trial,

. . a compared to 2.2% of all other federal offenders.
Primary Sentencing Guideline for Sexual

Abuse Offenders

e The top five districts for sexual abuse offenders were:
FY 2020

¢ Northern District of Texas (46);

  
 

  

 

 

  
  

 

 

AbUE Statutory ¢ District of South Dakota (32);
Sexe, | | Rope | ¢ Middle District of Florida (28):
exual a :
Contact 3.1% i ¢ Eastern District of Pennsylvania (25);
2.9% _—.. ¢ Southern District of Texas (25).
Punishment

 

© 99.5% of sexual abuse offenders were sentenced to prison; their
average sentence was 201 months.

Production of 2 e The average sentence for offenders convicted of production of

Child child pornography was 272 months:
Pornography ¢ 85.0% of these offenders were convicted of an offense carrying
47.1% a mandatory minimum penalty; their average sentence was 2
294 months. The average sentence without a mandatory
minimum penalty was 146 months.

 

 
 
     
 

Travel for
Prohibited
Sexual
Conduct
34.6%

  

 

 
   
   
   

e The average sentence for offenders convicted of travel to engage
in prohibited sexual conduct with a minor was 134 months:
¢ 64.7% of these offenders were convicted of an offense carrying
a mandatory minimum penalty; their average sentence was
This document was produced and published at U.S. taxpayer expense. | 68 months. The average sentence without a mandatory
For more Quick Facts, visit https://www.ussc.gov/research/quick-facts. minimum penalty was 71 months.

 
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Punishment (continued)

« The average sentence for offenders convicted of rape was 192 months:
¢ 27.5% of these offenders were convicted of an offense carrying a

mandatory minimum penalty; their average sentence was 353 months.
The average sentence without a mandatory minimum penalty was 129

months.

* The average sentence for offenders convicted of abusive sexual contact

was 60 months.

e The average sentence for offenders convicted of statutory rape was 43
months.

Sentences Relative to the Guideline Range

* 54.6% of sexual abuse offenders were sentenced under the Guidelines
Manual:

¢ 42.4% of all sexual abuse offenders were sentenced within the
guideline range.

¢ 6.3% of all sexual abuse offenders received a substantial assistance
departure.
& Their average sentence reduction was 47.6%.

¢ 5.5% of all sexual abuse offenders received some other downward
departure.
6 Their average sentence reduction was 35.1%.

e 45.4% received a variance:

¢ 41.7% of all sexual abuse offenders received a downward variance.
© Their average sentence reduction was 32.6%.

¢ 3.7% of all sexual abuse offenders received an upward variance.
& Their average sentence increase was 33.3%.

Sentence Imposed Relative to the Guideline Range FY 2020

Within Range
424%

    

_ Variances
45.4%

   
   

 

Substantial Assistance
6.3%

    
   
   

 

Under —
Guidelines
Manual Other Downward
54.6% 3.5%
Upward Departure
J 0.4%

 

SOURCE: United States Sentencing Commission, FY 2016 through FY 2020 Datafiles, USSCFY16-USSCFY20.

— Sexual Abuse Offenders —

Sentence Relative to the
Guideline Range (%)

reed @--~ Within Range ike Variance
sa ~~ Substantial Assistance -----%---- Other Downward

 

 

100
75
50 sac
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———. aa Gan co
25
Roms * te a
9 3
FY FY
2016 2020
Average Guideline Minimum and
Average Sentence
(months)
~—#— Guideline Minimum = ~~ Sentence
300
200 fee cate pet ‘ pecs TB reek
100
0
FY FY
2016 2020

' Sexual abuse offenders are those convicted of Criminal
Sexual Abuse - Rape (§2A3.1), Statutory Rape (§2A3.2},
Criminal Sexual Abuse of a Ward (§2A3.3}, Abusive Sexual
Contact (§2A3.4}, Promoting a Commerciat Sex Act
(§2G1.1}, Travel to Engage in Prohibited Sexual Conduct
with a Minor (§2G1.3), Production of Child Pomography
(§2G2.1), or Child Expioitation Enterprises (§2G2.6).

2 Production of Child Pornography does not include cases
where offenders were convicted of Trafficking in Material
Involving the Sexual Exploitation of a Minor: Receiving,
Transporting, Shipping, or Advertising Material Involving the
Sexual Exploitation of a Minor: Possessing Material Involving
the Sexual Exploitation of a Minor with Inten} to Traffic;
Possessing Material Involving ihe Sexual Exploitation of a
Minor (§2G2.2).

° Cases with incomplete sentencing information were
excluded from the analysis.

 
